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                                                         *Federal Court – CO, TX, WI, MO, NE, NM, IL, ND, MI, CT ∫




November 4, 2016

The Honorable Judge Toianne J. Bongiovanni
United States District Court
District of New Jersey

Via ECF

       Re:    Domonic Porcoro v. Remex Inc.
              Case #: 3:16-cv-00171-PGS-TJB


Your Honor,

       We represent the Plaintiff, Domonic Porcoro, in the above referenced action, and we are
pleased to report that the parties have reached an agreement to settle this case.

       Accordingly, the parties respectfully request that the Court remove any upcoming
deadlines, and mark this matter to be dismissed with prejudice.

       Thank you very much for your attention and courtesies in this matter.

                                            Respectfully,



                                                      /s/ Yaakov Saks
                                                      Yaakov Saks




Cc: Peter Cipparulo attorney for Defendant via ecf.
